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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                             Order Filed on June 25, 2020
     RIKER, DANZIG, SCHERER, HYLAND &                                        by Clerk,
     PERRETTI LLP                                                            U.S. Bankruptcy Court
     Joseph L. Schwartz (JS-5525)                                            District of New Jersey

     Tara J. Schellhorn (TS-8155)
     Headquarters Plaza, One Speedwell Avenue
     Morristown, NJ 07962-1981
     Telephone: (973) 583-0800
     -and-
     PACHULSKI STANG ZIEHL & JONES LLP
     Bradford J. Sandler (NJ Bar No. BS-1367)
     Shirley S. Cho (admitted pro hac vice)
     780 Third Avenue, 34th Floor
     New York, NY 10017

     Counsel to the Liquidating Trust

     In re:                                                       Chapter 11

     FRANK THEATRES BAYONNE/SOUTH                                 Case No. 18-34808 (SLM)
     COVE, LLC, et al.,1
                                                                  (Jointly Administered)
                                       Debtors.


                    ORDER GRANTING SIXTH OMNIBUS
          JOINT OBJECTION TO CLAIMS SEEKING TO DISALLOW AND
     EXPUNGE CERTAIN (I) NO LIABILITY CLAIMS AND (II) SATISFIED CLAIMS

          The relief set forth on the following pages, number two (2) through and including four

 (4), is hereby ORDERED:

 DATED: June 25, 2020



 1 The Post-Confirmation Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
 identification number are as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank All Star Theatres, LLC
 (0420); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres Rio,
 LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres Sanford,
 LLC (7475); Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon
 Valley LLC (1135); Frank Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank
 Hospitality Saucon Valley LLC (8570); and Galleria Cinema, LLC (2529).


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 Debtors:      Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.:     18- 34808 (SLM)
 Caption:      Order Granting Sixth Omnibus Joint Objection to Claims Seeking to Disallow and
               Expunge Certain (I) No Liability Claims and (II) Satisfied Claims


         Upon the sixth joint omnibus objection (the “Omnibus Objection”)2 of the Liquidating

 Trust and the Administrative and Priority Claims Agent in the above-captioned Chapter 11 Cases

 seeking entry of an order, pursuant to sections 105(a) and 502 of the Bankruptcy Code,

 Bankruptcy Rule 3007, and Local Rules 3007-1, disallowing and expunging each of the claims

 set forth on Schedule 1 hereto because each such claim has no basis in law and disallowing and

 expunging each of the Satisfied Claims set forth on Schedule 2 hereto because such claims have

 already been satisfied in full; and the Court having jurisdiction to consider this matter pursuant to

 28 U.S.C. §§ 157 and 1334; and venue being proper before the Court pursuant to 28 U.S.C. §§

 1408 and 1409; and consideration of the Omnibus Objection being a core proceeding pursuant to

 28 U.S.C. § 157(b); and it appearing that proper and adequate notice of the Omnibus Objection

 has been given and that no other or further notice is necessary; and upon the record herein; and

 the Court having determined that the relief sought by the Omnibus Objection is in the best

 interests of the Liquidating Trust, the estates, and creditors; and after due deliberation and good

 and sufficient cause appearing therefor;

 IT IS HEREBY ORDERED THAT:

                  The Omnibus Objection is GRANTED as set forth herein.

                  The No Liability Claims listed on Schedule 1 and the Satisfied Claims listed on

 Schedule 2 to this Order are disallowed and expunged in their entirety.




 2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Omnibus
 Objection.

 2

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 Debtors:      Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.:     18- 34808 (SLM)
 Caption:      Order Granting Sixth Omnibus Joint Objection to Claims Seeking to Disallow and
               Expunge Certain (I) No Liability Claims and (II) Satisfied Claims


                  The rights of the Movants to object in the future to any of the claims that are the

 subject of the Omnibus Objection on any grounds, and to amend, modify, and/or supplement the

 Omnibus Objection, including, without limitation, to object to amended or newly filed claims is

 hereby reserved. Without limiting the generality of the foregoing, the Movants specifically reserve

 the right to amend the Omnibus Objection, file additional papers in support of the Omnibus

 Objection, or take any other appropriate actions, including to (a) respond to any allegation or

 defense that may be raised in a response filed in accordance with the Omnibus Objection by or on

 behalf of any of the claimants or other interested parties; (b) object further to any No Liability

 Claim or Satisfied Claim for which a claimant provides (or attempts to provide) additional

 documentation or substantiation; and (c) object further to any No Liability Claim or Satisfied

 Claim based on additional information that may be discovered upon further review by the Movants

 or through discovery pursuant to the applicable provisions of the Bankruptcy Rules.

                  For the avoidance of doubt, nothing in the Omnibus Objection or this Order shall

 be deemed or construed to (a) constitute an admission as to the validity or priority of any claim

 against the Movants, (b) an implication or admission that any particular claim is of a type specified

 or defined in this Order or the Omnibus Objection, and/or (c) constitute a waiver of the Movants’

 rights to dispute any claim on any grounds.

                  The Movants, the claims and noticing agent (Prime Clerk LLC), and the Clerk of

 this Court are authorized to take any and all actions that are necessary or appropriate to give effect

 to this Order.




 3

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 Debtors:      Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.:     18- 34808 (SLM)
 Caption:      Order Granting Sixth Omnibus Joint Objection to Claims Seeking to Disallow and
               Expunge Certain (I) No Liability Claims and (II) Satisfied Claims


                  The objection to each claim addressed in the Omnibus Objection and as set forth

 on Schedule 1 and Schedule 2 attached hereto constitutes a separate contested matter as

 contemplated by Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect

 to each claim that is the subject of the Omnibus Objection and this Order. Any stay of this Order

 pending appeal by any claimants whose claims are subject to this Order shall only apply to the

 contested matter that involves such claimant and shall not stay the applicability and/or finality of

 this Order with respect to any other contested matters addressed in the Omnibus Objection and this

 Order.

                  The requirement set forth in Local Rule 9013-1(a)(3) that any motion or other

 request for relief be accompanied by a memorandum of law is hereby deemed satisfied by the

 contents of the Omnibus Objection or otherwise waived.

                  Notwithstanding any applicability of any of the Bankruptcy Rules, the terms and

 conditions of this Order shall be immediately effective and enforceable upon its entry.

                  The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation of this Order.




 4

 DOCS_DE:228105.6 29184/003
                                                           SCHEDULE 1
                                          FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                                      IRS Claims – No Liability

                                                     Date Claim    Claim     Claim
                       Name of Claimant                                                      Reason for Disallowance
                                                       Filed      Number    Amount
    Department of the Treasury – Internal Revenue
                                                                                                                                                      Case 18-34808-SLM




    Service
                                                     2/28/2019     105     $4,726.38          No basis in law to assess.
    P.O. Box 7346
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
                                                                                                                                                      Doc 980




    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     107     $21,600.00
    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
                                                                                                                                 Document




    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     108     $21,600.00
    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     111     $17,280.00
    P.O. Box 7346                                                                                     withdrawn.
                                                                                                                                              Page 5 of 10




    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     112     $6,480.00
    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     113     $21,600.00
                                                                                                                                  Filed 06/25/20 Entered 06/25/20 11:06:49




    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     114     $10,800.00
    P.O. Box 7346                                                                                     withdrawn.
                                                                                                                                                      Desc Main




    Philadelphia, PA 19101-7346

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                                                           SCHEDULE 1
                                          FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                                      IRS Claims – No Liability

                                                     Date Claim    Claim      Claim
                       Name of Claimant                                                         Reason for Disallowance
                                                       Filed      Number     Amount
    Department of the Treasury – Internal Revenue
    Service                                                                                No basis in law to assess and has been
                                                     2/28/2019     115      $8,640.00
                                                                                                                                                         Case 18-34808-SLM




    P.O. Box 7346                                                                                        withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                                No basis in law to assess and has been
                                                     2/28/2019     116      $19,440.00
                                                                                                                                                         Doc 980




    P.O. Box 7346                                                                                        withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                                No basis in law to assess and has been
                                                     2/28/2019     117      $6,480.00
                                                                                                                                    Document




    P.O. Box 7346                                                                                        withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                                No basis in law to assess and has been
                                                     2/28/2019     118      $19,440.00
    P.O. Box 7346                                                                                        withdrawn.
    Philadelphia, PA 19101-7346
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    Department of the Treasury – Internal Revenue
    Service                                                                                No basis in law to assess and has been
                                                     2/28/2019     119      $12,960.00
    P.O. Box 7346                                                                                        withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                                No basis in law to assess and has been
                                                     2/28/2019     120      $10,800.00
    P.O. Box 7346                                                                                        withdrawn.
                                                                                                                                     Filed 06/25/20 Entered 06/25/20 11:06:49




    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service
                                                     2/28/2019     121     $14,052.69.00         No basis in law to assess.
    P.O. Box 7346
    Philadelphia, PA 19101-7346
                                                                                                                                                         Desc Main




DOCS_DE:228105.6 29184/003
                                                           SCHEDULE 1
                                          FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                                      IRS Claims – No Liability

                                                     Date Claim    Claim     Claim
                       Name of Claimant                                                      Reason for Disallowance
                                                       Filed      Number    Amount
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     122     $19,440.00
                                                                                                                                                      Case 18-34808-SLM




    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     123     $19,440.00
                                                                                                                                                      Doc 980




    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     124     $21,600.00
                                                                                                                                 Document




    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     125     $19,440.00
    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
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    Department of the Treasury – Internal Revenue
    Service
                                                     2/28/2019     126     $4,726.38          No basis in law to assess.
    P.O. Box 7346
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     127     $19,440.00
    P.O. Box 7346                                                                                     withdrawn.
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    Philadelphia, PA 19101-7346
    Department of the Treasury - Internal Revenue
    Service
                                                                                        No basis in law to assess and has been
    P.O. Box 7346                                    02/28/2019    129       $0.00
                                                                                                      withdrawn.
    Philadelphia, PA 19101-7346
                                                                                                                                                      Desc Main




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                                                           SCHEDULE 1
                                          FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                                      IRS Claims – No Liability

                                                     Date Claim    Claim     Claim
                       Name of Claimant                                                      Reason for Disallowance
                                                       Filed      Number    Amount
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/27/2019     142     $21,600.00
                                                                                                                                                      Case 18-34808-SLM




    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     2/28/2019     144     $19,440.00
                                                                                                                                                      Doc 980




    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service
                                                     8/26/20019    323       $0.00            No basis in law to assess.
                                                                                                                                 Document




    P.O. Box 7346
    Philadelphia, PA 19101-7346
    Department of the Treasury – Internal Revenue
    Service                                                                             No basis in law to assess and has been
                                                     8/26/2019     324       $0.00
    P.O. Box 7346                                                                                     withdrawn.
    Philadelphia, PA 19101-7346
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                               FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                              Satisfied Claims
                                                Schedule 2



                                               Claim/Schedule                               Basis for Claim
           Name of Claimant      Debtor                         Date Filed   Claim Amount
                                                                                                                                       Case 18-34808-SLM




                                                  Number                                     Satisfaction
                                                                                $20.00
 Pennsylvania Department of
                                                                               (General
 Revenue                          Frank
                                                                              Unsecured)
 Bankruptcy Division          Entertainment         18          1/18/2019                   Claim paid in full.
                                                                                                                                       Doc 980




 PO Box 280946                 Group, LLC
                                                                                $208.75
 Harrisburg, PA 17128-0946
                                                                               (Priority)
                                                                              $1,292.89
                                                                               (General
                                                                                                                  Document




 Pennsylvania Department of                                                   Unsecured)
 Revenue                        Frank
 Bankruptcy Division          Management,           19          01/18/2019    $16,174.55    Claim paid in full.
 PO Box 280946                   LLC                                           (Priority)
 Harrisburg, PA 17128-0946
                                                                              $4,861.22
                                                                                                                               Page 9 of 10




                                                                              (Secured)
                                                                               $483.33
 Pennsylvania Department of
                                                                               (General
 Revenue                      Revolutions of
                                                                              Unsecured)
 Bankruptcy Division          Saucon Valley         20          01/18/2019                  Claim paid in full.
 PO Box 280946                    LLC
                                                                               $5,944.72
 Harrisburg, PA 17128-0946
                                                                               (Priority)
                                                                                                                   Filed 06/25/20 Entered 06/25/20 11:06:49




 PA Department of Revenue
                              Frank Theatres                                   $2,036.57
 PO Box 280406                                    862423                                    Claim paid in full.
                                York, LLC                                      (Priority)
 Harrisburg, PA 17128-0406
                                                                                                                                       Desc Main




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                               FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                              Satisfied Claims
                                                Schedule 2



                                               Claim/Schedule                               Basis for Claim
           Name of Claimant      Debtor                         Date Filed   Claim Amount
                                                  Number                                     Satisfaction
                                                                                                                                          Case 18-34808-SLM




 PA Department of Revenue
                              Frank Theatres                                  $64,433.39
 PO Box 280406                                    862261                                    Claim paid in full.
                                York, LLC                                      (Priority)
 Harrisburg, PA 17128-0406
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